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                    UNITED STATES DISTRICT COURT
                           OF PUERTO RICO
                     CASE NO. 22-CR-00342-SCC-HRV

UNITED STATES OF AMERICA,
         Plaintiff,
v.

MARK T. ROSSINI,
           Defendant.
_________________________________/

M OTION TO C OMPEL S PECIFIC E VIDENCE D ESIGNATION OR , A LTERNATIVELY ,
 FOR E ARLY D ISCLOSURE OF E XHIBIT L IST AND D EMAND FOR J ENCKS AND
                           G IGLIO M ATERIAL

      Mark Rossini (“Mr. Rossini” or “Rossini”), through undersigned

counsels, and pursuant to Rules 12(b)(4)(B), 16, and 57 of the Fed. R. Crim.

P., respectfully submits this Motion Requesting an Order compelling the

government to amend its designation of evidence or, in the alternative, to order

the early production of the government’s exhibit list. The government’s current

designation, [ECF No. 637], is excessively broad, listing nearly every piece of

disclosed material, thus rendering it functionally useless for the defense’s

pretrial preparation. Without a more specific designation, Mr. Rossini is

deprived of the opportunity to effectively assess, challenge, or suppress any

particular evidence the government intends to use at trial. Additionally, Mr.

Rossini Demands that the government comply with Your Honor’s previous

Orders and produce Jencks Act and Giglio material.

      This broad and indiscriminate designation raises significant concerns

about fairness and transparency in the trial process. By listing vast amounts

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of irrelevant material alongside key evidence, the government places an undue

burden on the defense to sift through millions of pages of discovery without

clear direction. This lack of specificity not only hinders the defense’s ability to

prepare but also risks ambushing the defense with critical evidence at the last

minute. To ensure fairness, the Court should require the government to either

amend its designation to clarify what evidence it intends to use or, at a

minimum, disclose its exhibit list well in advance of trial, so that the defense

can prepare without facing undue surprise or disadvantage.

1. D EMAND FOR J ENCKS AND G IGLIO M ATERIAL .

      On June 3, 2024, and again on September 13, 2024, this Court ordered

the government to disclose Jencks Act (18 U.S.C. § 3500) and Giglio v. United

States, 405 U.S. 150 (1972), materials no later than August 30, 2024. [ECF

Nos. 566, 651]. These materials, which include prior statements of government

witnesses (Jencks) and information affecting the credibility of those witnesses,

such as promises, inducements, or impeachment evidence (Giglio), are critical

to the defense’s preparation for trial. While the government did produce a set

of documents labeled “Jencks,” in keeping with its ongoing pattern of

obfuscation, it provided over 1,400 items, all disorganized, without specifying

which witness each document pertains to. This scattershot production is not

how Jencks material is supposed to be provided; the defense is left to sift

through an overwhelming volume of unstructured data, without any guidance

on how it relates to the government's witnesses.



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         This method of disclosure essentially amounts to another data dump, a

tactic the government has repeatedly used throughout this case to overwhelm

the defense with vast amounts of undifferentiated information. Such a dump

is both impractical and prejudicial—it forces the defense to waste valuable

time sorting through mountains of disorganized material in an attempt to

match statements to witnesses, rather than focusing on meaningful trial

preparation. This failure to organize or delineate the material is a clear

violation of the government's Jencks obligations, which require that witness

statements be produced in a manner that allows the defense to use them

effectively in preparation for trial.

         The Court’s directive to provide these materials in a timely and

organized manner is essential to ensure that Mr. Rossini’s right to a fair trial

is upheld. Jencks and Giglio disclosures are vital for investigating the

credibility of government witnesses, developing cross-examination strategies,

and assessing the reliability of the evidence. The government’s failure to

organize the material—compounded by its refusal to confirm whether all

Jencks materials have been provided—violates not only the Court’s order but

also the basic principles of fairness. This approach places the defense at a

significant disadvantage, undermining our ability to prepare adequately for

trial.

         The government's continued disorganization and evasion raise serious

concerns about its transparency. By dumping over 1,400 unstructured items




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on the defense and failing to delineate which materials pertain to which

witness, the government appears to be deliberately concealing critical

information. This tactic risks turning the trial into a game of ambush, with

the defense potentially blindsided by crucial witness statements or credibility

issues at the last minute.

      Given the government’s failure to meet the August 30 deadline, its

failure to provide organized Jencks material, and the concern that critical

evidence is being deliberately withheld or obscured, Mr. Rossini respectfully

requests that the Court compel the immediate and organized production of all

outstanding Jencks and Giglio materials. Furthermore, the defense requests

that the government be barred from using any evidence derived from witnesses

whose statements have not been properly and timely disclosed, to prevent

undue prejudice and ensure a fair trial.

2. T HE G OVERNMENT ' S D ESIGNATION OF E VIDENCE IS U NREASONABLY B ROAD
   AND C ONTRAVENES R ULE 12( B )(4)(B).


      Rule 12(b)(4)(B) is designed to notify the defense of specific evidence the

government intends to use in its case-in-chief, thereby enabling the defense to

prepare motions to suppress or exclude evidence. However, the government’s

designation here is the antithesis of that intent. [ECF No. 637]. Rather than

identifying specific pieces of evidence, paragraphs 1-27 of the government’s

designation broadly reference entire categories of materials, including:

      1. “All content” from numerous cellphones belonging to defendants, co-

         conspirators, and third parties. [ECF No. 637, ¶¶1-10].


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      2. “All content” from various email accounts, including Apple and

         Google accounts of key defendants. [ECF No. 637, ¶¶1-10].

      3. Extensive bank records from various financial institutions, including

         JPMorgan, HSBC, and Barclays, encompassing the entirety of

         disclosed banking data related to the case. [ECF No. 637, ¶11].

      4. “Records obtained” from numerous individuals and entities that,

         according to the government, support the facts underlying Counts 1-

         4 of the Indictment. [ECF No. 637, ¶¶12-23].

      5. “All messages,” from 2019 and 2020, related to certain meetings

         and/or interactions. [ECF No. 637, ¶¶26-27].

      By designating all evidence obtained from these devices and accounts

and all records and messages obtained from specific individuals and related to

certain interactions as evidence for trial, the government is effectively

including every piece of data disclosed during discovery. This designation

makes it impossible for the defense to determine what specific evidence the

government will actually use at trial, which is essential for assessing the need

for pretrial suppression motions.

      In United States v. Vilar, 530 F. Supp. 2d 616, 640 (S.D.N.Y. 2008), the

court recognized that Rule 12(b)(4)(B) requires the government to provide

notice of evidence it intends to use in its case-in-chief, not merely to list broad

categories of discovery. The issue in Vilar centered on the government's

designation of electronic evidence and documents obtained during the




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investigation. The court held that broad categories were insufficient because

they did not allow the defense to understand what particular items of evidence

the government planned to introduce at trial.

      Similarly, United States v. DeLeon, 428 F. Supp. 3d 698, 711-12 (D.N.M.

2019), made clear that an overly broad designation impairs the defendant’s

ability to prepare adequately and should be corrected to promote fairness in

pretrial litigation. The case involved extensive wiretaps and voluminous

recordings, and the government designated nearly all of the intercepted

communications as potential evidence. The court found that while the

government is not required to provide an exhaustive list of exhibits, its broad

designation unfairly prevented the defense from focusing its pretrial efforts

on specific evidence.

      Here, the government's failure to provide specificity contravenes the

core purpose of Rule 12(b)(4)(B). Listing entire datasets, such as “all content

from cellphones” and “all banking records,” without further refinement is

tantamount to a non-designation. The defense cannot effectively prepare

motions when left guessing which specific emails, messages, or financial

records the government will present as evidence.

3. T HE V OLUMINOUS N ATURE OF THE D ISCOVERY M ATERIAL A GGRAVATES
   THE P ROBLEM .


      The government’s discovery is vast—spanning millions of pages,

multiple terabytes of phone data, and massive collections of bank records. As

outlined in our prior motions [ECF Nos. 453, 561], reviewing and organizing


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this data is a monumental task for the defense. The inclusion of entire cell

phone dumps and email accounts, as designated in [ECF No. 637], imposes an

unreasonable burden on the defense to sift through the material and

determine what might be used at trial.

      For example, Paragraphs 1-10 of the government’s designation refer to

“all content” from various cellphones and email accounts, including those of

Mr. Rossini. These devices contain an enormous amount of personal and

irrelevant   information,   and    the   lack    of    specificity     regarding   which

communications or documents the government intends to introduce makes it

impossible to prepare effectively for trial. Simply put, the government’s

designation leaves the defense without a practical or meaningful way to

challenge or suppress evidence, as required under Rule 12(b)(4)(B).

4. T HIS M OTION D OES N OT S EEK TO U NCOVER THE G OVERNMENT ’ S T RIAL
   S TRATEGY .

      Mr. Rossini acknowledges that Rule 12(b)(4)(B) does not require the

government to reveal its trial strategy or provide an exhaustive list of every

document it may potentially introduce. We are not attempting to force the

government to commit to a full exhibit list months before trial. Rather, this

motion is aimed at ensuring that the government complies with the rule’s core

purpose: to provide sufficient notice of the specific evidence it intends to use

in its case-in-chief so that the defense can make informed decisions about

suppression or exclusion.




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         In United States v. Cruz-Paulino, 61 F.3d 986 (1st Cir. 1995), the First

Circuit strongly condemned the government’s violation of Rule 12(d)(2) (now

Rule 12(b)(4)(B)) for failing to notify the defense of its intent to introduce

specific evidence, including a telephone and cardboard box, during its case-in-

chief. Although the court did not reverse the conviction due to a lack of

prejudice to the defendant, it made clear that such governmental violations

should not be condoned. The court emphasized the importance of compliance

with Rule 12, expressing reliance on district courts to impose appropriate

sanctions for noncompliance, such as granting continuances or holding

additional suppression hearings. The court even suggested that in cases of bad

faith, exclusion of undesignated evidence could be appropriate. While no

prejudice was found in this instance, the Cruz-Paulino court underscored that

the government’s disregard for its disclosure obligations undermines the

fairness of the trial process and could warrant serious consequences in future

cases.

5. A LTERNATIVELY , THE C OURT S HOULD O RDER THE E ARLY P RODUCTION OF
   THE G OVERNMENT ’ S E XHIBIT L IST TO E NSURE F AIRNESS AND E FFICIENCY
   IN P REPARATION FOR T RIAL


         Should the Court decline to compel the government to amend its

excessively broad designation of evidence pursuant to Rule 12(b)(4)(B), Mr.

Rossini alternatively requests that the Court order the government to produce

its exhibit list within 30 days, pursuant to Rule 16(a)(1)(E). Given the

extraordinary volume of discovery in this case—totaling over 10 million pages,



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along with thousands of hours of audio and video files—the defense cannot be

expected to prepare adequately without early disclosure of the government’s

trial exhibits. Under Rule 16(a)(1)(E), the Government is obligated to provide,

before trial, three specific categories of documents that are within its

“possession, custody, or control,” including those it plans to introduce during

its case-in-chief. See Fed. R. Crim. P. 16(a)(1)(E); United States v. Chalmers,

474 F. Supp. 2d 555, 572–73 (S.D.N.Y. 2007); United States v. Falkowitz, 214

F. Supp. 2d 365, 392 (S.D.N.Y. 2002). Therefore, in compliance with Rule

16(a)(1)(E), the Government is required to produce to Defendants, at the very

least, all items it intends to present at trial.

      In this case, the sheer volume of unorganized and often indecipherable

data makes it virtually impossible for the defense to identify the materials

that may be used at trial without substantial advance notice. The defense is

already under immense strain to sift through these records, and the lack of an

early exhibit list would only exacerbate this problem, further jeopardizing Mr.

Rossini’s right to a fair trial and effective preparation.

      Given these circumstances, the early production of the government’s

exhibit list is not just reasonable but essential to ensuring that the defense

has a meaningful opportunity to review the evidence in time to prepare its

case and avoid trial by ambush.

6. T HE C OURT HAS B ROAD D ISCRETION TO R EQUIRE A M ORE S PECIFIC
   D ESIGNATION OR TO O RDER THE E ARLY P RODUCTION OF THE
   G OVERNMENT ’ S E XHIBIT L IST .



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      This Court has broad discretion under both Fed. R. Crim. P. 57(b) and

Rule 16 to regulate discovery in a manner that ensures fairness and efficiency

in the pretrial process. Rule 57(b) explicitly grants judges the authority to

regulate practice in any manner consistent with federal law and local rules.

Additionally, the advisory committee’s note to Rule 16 underscores that the

rule provides the minimum amount of discovery to which the parties are

entitled, but it does not limit the Court’s discretion to order broader or more

specific discovery in appropriate cases.

      Courts across the country have recognized their authority to compel the

government to provide a more specific designation of evidence when the initial

disclosure is overly broad or ambiguous. See          Giffen, 379 F.Supp.2d at

344 (“[B]ased on the policy concerns of Rule 16 and principles of fairness, it is

within a district court's authority to direct the Government to identify the

documents it intends to rely on in its case in chief”) (citing United States v.

Upton, 856 F.Supp. 727, 748 (E.D.N.Y.1994) (directing the Government to

“provide a list of all documents to be referred to or relied upon by government

witnesses”); and United States v. Turkish, 458 F. Supp. 874, 882 (S.D.N.Y.

1978) (directing the Government “to identify to the defendants those

documents it intends to offer, or to use or to refer to in connection with the

testimony of any witness, on its case in chief”)); see, e.g., Chalmers, 474

F.Supp.2d at 572–73 (directing the Government to disclose an exhibit list prior

to trial based on, inter alia, ”the large volume of documents produced by the




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Government thus far ....”); United States v. McDonald, No. 01 Crim. 1168(JS),

2002 WL 2022215, at *3 (E.D.N.Y. Aug. 6, 2002); see also United States v.

Cannone, 528 F.2d 296, 298 (2d Cir. 1975) (“It is recognized that wide latitude

is reposed in the district court to carry out successfully its mandate to

effectuate, as far as possible, the speedy and orderly administration of

justice.”).

       In this case, the government’s designation includes nearly every piece of

disclosed material, rendering it virtually impossible for the defense to identify

which specific evidence the government intends to use at trial. Such overly

broad designations not only undermine the core purpose of Rule 12(b)(4)(B)

but also place an undue burden on the defense, making pretrial preparation

inefficient and incomplete.

       It is difficult to imagine that the government genuinely believes its

current designation—which encompasses almost every piece of disclosed

material—satisfies its obligations under the rule. Given the immense volume

of discovery and the lack of any meaningful limitation on the evidence it will

actually use, this Court should compel the government to amend its broad

designation of evidence or, in the alternative, order the early production of the

exhibit list. Doing so will not only ensure a fair and just trial but will also

conserve judicial resources by streamlining pretrial motions and reducing the

risk of unnecessary delays caused by last-minute surprises.




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      WHEREFORE, Mr. Rossini respectfully requests that this Court

intervene to ensure a fair trial process. The government’s continued reliance

on vague, sweeping designations and disorganized disclosures severely

hampers the defense’s ability to prepare for trial, creating an unfair and

prejudicial advantage. The defense should not be forced to sift through

mountains of irrelevant material or guess which evidence the government will

actually rely on. To preserve the integrity of the proceedings and prevent trial

by ambush, this Court should compel the government to amend its evidence

designation or, alternatively, order the early production of a detailed exhibit

list. Additionally, the Court should require the immediate and organized

disclosure of all remaining Jencks and Giglio material, in compliance with its

prior orders, to avoid further unnecessary delays and to ensure that Mr.

Rossini is afforded his constitutional right to a fair trial.

                                      Respectfully submitted,

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                       CERTIFICATE OF SERVICE

      I certify that on September 30, 2024, I electronically filed the foregoing

document with the Clerk of the Court using CM/ECF, causing a copy to be

served on counsel of record.


                                                 /s/ Juan J. Michelen
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